Exhibit C
                                                            Page 1
·1· · · · · · · · CONFIDENTIAL - E. PAVONY

·2· · · · · · ·UNITED STATES DISTRICT COURT

·3· · · · · · ·EASTERN DISTRICT OF NEW YORK

·4· · FULL CIRCLE UNITED, LLC,· · · ·)
· · · · · · · · · · · · · · · · · · ·)
·5· · · · ·Plaintiff,· · · · · · · · )
· · · · · · · · · · · · · · · · · · ·) Case No.
·6· · vs.· · · · · · · · · · · · · · ) 1:20-cv-03395
· · · · · · · · · · · · · · · · · · ·)
·7· · BAY TEK ENTERTAINMENT, INC.,· ·)
· · · · · · · · · · · · · · · · · · ·)
·8· · · · ·Defendant.· · · · · · · · )
· · · -----------------------------· )
·9· · BAY TEK ENTERTAINMENT, INC.,· ·)
· · · · · · · · · · · · · · · · · · ·)
10· · · · ·Counterclaim Plaintiff,· ·)
· · · · · · · · · · · · · · · · · · ·)
11· · vs.· · · · · · · · · · · · · · )
· · · · · · · · · · · · · · · · · · ·)
12· · FULL CIRCLE UNITED, LLC,· · · ·)
· · · · · · · · · · · · · · · · · · ·)
13· · · · ·Counterclaim Defendant,· ·)
· · · · · · · · · · · · · · · · · · ·)
14· · and· · · · · · · · · · · · · · )
· · · · · · · · · · · · · · · · · · ·)
15· · ERIC PAVONY,· · · · · · · · · ·)
· · · · · · · · · · · · · · · · · · ·)
16· · · · ·Additional Counterclaim· ·)
· · · · · ·Defendant.· · · · · · · · )
17

18

19· · · · · · · · · · ·CONFIDENTIAL

20· ·REMOTE VIDEO-RECORDED DEPOSITION OF ERIC PAVONY

21· · · · · · · · · · June 13, 2022

22· · · · · · · · · · · ·Volume I

23· · Reported by:

24· · KATHY S. KLEPFER, RMR, RPR, CRR, CLR

25· · JOB NO. 211444


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                                                               Page 41
·1· · · · · · · ·CONFIDENTIAL - E. PAVONY
·2· · · · · · ·Ask a question.
·3· · · · · · ·MS. LEPERA:· I've asked many questions
·4· · · ·to which I'm not getting answers.· And you
·5· · · ·know what, Mr. Skibell, or whatever your
·6· · · ·name is, at the end of the day, it is what
·7· · · ·it is:· He either did his job or he didn't.
·8· · · · · · ·MR. SKIBELL:· Christine, we will not
·9· · · ·tolerate --
10· · · · · · ·MS. LEPERA:· And obviously, that
11· · · ·applies to Mr. Wikman as well.
12· · · · · · ·MR. SKIBELL:· My name is Skibell.
13· · · ·Please use it.· Don't be rude.· Ask
14· · · ·questions.
15· · · · · · ·MS. LEPERA:· I'm going to call you
16· · · ·Reid.
17· · · · · · ·Okay.· Let's mark the next document.
18· · · · · · ·(Pavony Exhibit 3, LinkedIn Page for
19· · · ·Eric Pavony, marked for identification, as
20· · · ·of this date.)
21· ·BY MS. LEPERA:
22· · · ·Q.· · This is your LinkedIn page, I believe,
23· ·Mr. Pavony.
24· · · · · · ·Is it complete and fully accurate as
25· ·to your history, both educational and background


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                                                                         YVer1f
                                                            Page 49
·1· · · · · · · ·CONFIDENTIAL - E. PAVONY
·2· ·and how things -- how we were -- how we were
·3· ·going about events.
·4· · · · · · ·I really don't recall.· That would
·5· ·be -- that would be hard for me to remember.
·6· ·Ten years ago, how many events we did ten years
·7· ·ago, how many events we did nine years ago, how
·8· ·many events we did eight years ago, I can't come
·9· ·up with numbers for that.
10· · · ·Q.· · I don't expect you to guess.· I expect
11· ·you to give me an educated estimate.
12· · · · · · ·This was your project, correct?
13· · · · · · ·MR. SKIBELL:· Objection to form.
14· · · ·Relevance.
15· · · · · · ·There's about three
16· · · ·questions/statements built in there.
17· · · · · · ·MS. LEPERA:· Now you're doing a
18· · · ·speaking objection.
19· · · · · · ·MR. SKIBELL:· I want to you ask a
20· · · ·question that's intelligible and not put
21· · · ·three things together so he can answer --
22· · · · · · ·MS. LEPERA:· He's told me all day
23· · · ·long, and I've had it from the best of them,
24· · · ·and you're not.
25· ·BY MS. LEPERA:


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                                                                      YVer1f
                                                               Page 76
·1· · · · · · · ·CONFIDENTIAL - E. PAVONY
·2· · · ·going direct you not to answer.
·3· · · · · · ·MS. LEPERA:· Now you're coaching the
·4· · · ·witness to tell him it is privileged
·5· · · ·communication that it's based on the answer,
·6· · · ·and that's not appropriate.· You can simply
·7· · · ·ask him whether or not there's going to be a
·8· · · ·violation of any privilege, without telling
·9· · · ·him that there is one.
10· · · · · · ·MR. SKIBELL:· I am directing him not
11· · · ·to answer.
12· · · · · · ·MS. LEPERA:· With respect to the legal
13· · · ·strategy of this case, seriously?
14· · · · · · ·MR. SKIBELL:· I'm going to direct him
15· · · ·not to answer to the extent the question
16· · · ·would reveal our legal strategy in the case,
17· · · ·Christine.
18· · · · · · ·MS. LEPERA:· That's not what you said,
19· · · ·but okay.· You know, the rules don't apply
20· · · ·to you.
21· ·BY MS. LEPERA:
22· · · ·Q.· · But go ahead, Mr. Pavony.
23· · · · · · ·MR. SKIBELL:· Christine, please stop
24· · · ·with the nasty asides.
25· · · · · · ·MS. LEPERA:· The rules don't apply to


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                                                                 Page 78
·1· · · · · · · ·CONFIDENTIAL - E. PAVONY
·2· · · · · · ·MS. LEPERA:· Wait.· Wait.· Wait.              I
·3· · · ·said coaching.· I said you're coaching.
·4· · · · · · ·Do you know the difference between
·5· · · ·saying you can't coach a witness and telling
·6· · · ·someone they have a nasty reputation?· Do
·7· · · ·you know that difference?· Because I don't
·8· · · ·think you do, but I guess I'm going to have
·9· · · ·to educate you.
10· · · · · · ·MR. SKIBELL:· I'm not playing this
11· · · ·game.
12· · · · · · ·Eric, you are --
13· · · · · · ·MS. LEPERA:· Apparently you are.
14· · · · · · ·MR. SKIBELL:· I'm directing you not to
15· · · ·answer to the extent it would reveal
16· · · ·communications about our legal strategy in
17· · · ·this case.· If you can answer
18· · · ·notwithstanding that, you can answer the
19· · · ·question.
20· · · · · · ·THE WITNESS:· I am going to need the
21· · · ·question repeated because I -- I have
22· · · ·forgotten it since.
23· ·BY MS. LEPERA:
24· · · ·Q.· · Is there any reason why you did not --
25· ·or, Full Circle, I should say, did not admit


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 1                            UNITED STATES DISTRICT COURT
 2                            EASTERN DISTRICT OF NEW YORK
 3             = = = = = = = = = = = = = = = = = = = = = = = = = = =
 4             FULL CIRCLE UNITED, LLC,
 5                        Plaintiff,
 6             -vs-                                  Case No. 1:20-cv-03395
 7             BAY TEK ENTERTAINMENT, INC.,
 8                        Defendant.
 9             = = = = = = = = = = = = = = = = = = = = = = = = = = =
10             BAY TEK ENTERTAINMENT, INC.,
11                        Counterclaim Plaintiff,
12             -vs-
13             FULL CIRCLE UNITED, LLC,
14                        Counterclaim Defendant,
15             -and-
16             ERIC PAVONY,
17                        Additional Counterclaim
                          Defendant.
18
               = = = = = = = = = = = = = = = = = = = = = = = = = = =
19
                          Remote Videotaped Deposition of:
20
21                                   GAETAN PHILLIPON
22                                 ***CONFIDENTIAL***
23                                   Neenah, Wisconsin
24                                    March 10, 2022
25                             Reporter:      Jessica Bolanos

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                                   CONFIDENTIAL

                                                                        Page 130

 1                  That's not a question.        He's already answered
 2                  his question -- the question, that he didn't
 3                  know of any others, period.             So now you want
 4                  to sit here and -- and harass him because he
 5                  didn't and he should have?             That's not
 6                  appropriate deposition questioning.
 7                            MS. CASADONTE:         The record is --
 8                            MS. LEPERA:        It's harassment.         You
 9                  should have learned of more because you're
10                  supposed to be doing your job?             I mean,
11                  that's what you're doing.          I -- okay.       You
12                  want to make arguments, go ahead.             Ask him
13                  facts, ask him questions.          This is a
14                  deposition to learn facts.             Learn the facts.
15                  You've already understood that fact.             You
16                  learned that fact hours ago.
17      Q    I'm going to reveal what's been marked as
18           Exhibit 31.
19                            MS. LEPERA:        Okay.
20      Q    Please let me know when you can see the document
21           on your screen.
22                            MS. LEPERA:        Do you still have the
23                  link up, Gaetan?
24                            THE WITNESS:        I do.
25                            MS. LEPERA:        Okay.       Hold on.    9,000

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                                                                      Page 143

 1                  8.5, you're asking him?
 2                              MS. CASADONTE:         Yes.
 3                  Paragraph 8 --
 4                              MS. LEPERA:        Okay.     Okay.   In its
 5                  entirety?
 6      Q    Without reading -- without reading paragraph 8,
 7           sitting here today, do you have any recollection
 8           of what the royalty rights, if any, provided under
 9           the license agreement to SBI are?
10                              MS. LEPERA:        Wait a second.      You
11                  asked the document -- you asked the
12                  witness -- are you withdrawing the prior
13                  question completely?
14                              MS. CASADONTE:         Yes.    He probably
15                  forgot it, Ms. Lepera, because there's been
16                  so much discourse.        So I'm --
17                              MS. LEPERA:        No, you asked him to
18                  review paragraph 8, and you asked him if he
19                  recalls reviewing paragraph 8 back in the
20                  day, and he was reading it to answer your
21                  question.
22                              MS. CASADONTE:         The common --
23                              MS. LEPERA:        Are you withdrawing
24                  that question and now you're asking another
25                  question; is that right?           Asking him to now

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                                                                        Page 144

 1                  sit here, not look at the document, and tell
 2                  you whether he remembers the royalty
 3                  provision from eight or from something?                  I'm
 4                  just trying to -- you see what you're doing?
 5                              MS. CASADONTE:          Do you see what
 6                  you're doing?
 7                              MS. LEPERA:         Yeah.       I'm training,
 8                  because obviously you haven't had any.
 9                              MS. CASADONTE:          I don't need this.
10                  Thanks.
11                              MS. LEPERA:         If you're going to
12                  withdraw a question, withdraw it so the
13                  witness knows.      All right?            So we're all
14                  trying to, you know, follow you from the last
15                  question.
16                       In so paragraph 8, she's not asking you
17                  about that anymore.         I believe her last
18                  question is:     Do you remember the royalty
19                  provision separate and apart from the
20                  document?    I think that's what she's trying
21                  to ask you.
22                              MS. CASADONTE:          That's my question.
23                  I'll withdraw the prior question.
24                              MS. LEPERA:         Thank you.
25                              MS. CASADONTE:          Because it was

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                                                                       Page 206

 1           occurred on February 23, 2016, that was
 2           confidential at the time --
 3                              MS. LEPERA:        To whom?       To whom?
 4                              MS. CASADONTE:         As far as -- as far
 5                  as he understood it.
 6                              MS. LEPERA:        So that means whether
 7                  these people want their picture to be
 8                  disclosed publicly?        Is that part of it?           You
 9                  can ask him that.
10                              MS. CASADONTE:         I'm not referring
11                  to the document.       I'm not referring to the
12                  document.
13                              MS. LEPERA:        Yes, you are.       Stop
14                  playing games.     Stop playing games.
15                              MS. CASADONTE:         I'm not.
16                              MS. LEPERA:        This doesn't become
17                  you, I'll tell you that much.
18                              MS. CASADONTE:         I'm not a game
19                  player.
20                              MS. LEPERA:        It's so transparent,
21                  and it is a total game and a total waste of
22                  time.
23      Q    Can you just answer the question, please?
24                              MS. LEPERA:        No.       Get a ruling.
25                  Get a ruling on the document.               Go ahead.

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                                                                    Page 262

 1           communications with Full Circle that you can
 2           recall prior to April 2016 between lanes
 3           manufactured under the license agreement and any
 4           other agreement of any type to manufacture lanes?
 5                              MS. LEPERA:        Objection to form.    I
 6                  don't know what you're talking about, "any
 7                  other agreement to manufacture lanes."            Did
 8                  they make any other distinction?
 9                              MS. CASADONTE:         Ms. Lepera, you're
10                  using all of my time.
11                              MS. LEPERA:        I don't know.    I don't
12                  know.    Yeah, well, you -- because you've not
13                  answered -- asking -- you're not looking for
14                  facts.
15                              MS. CASADONTE:         Yes, I am.
16                              MS. LEPERA:        You're looking for
17                  arguments, and you're looking to distort
18                  things, and you're doing it in a way that's
19                  not in good faith, period.
20                              MS. CASADONTE:         That is not fair to
21                  say.    Just because you place something on the
22                  record does not make it true, Ms. Lepera, and
23                  I really --
24                              MS. LEPERA:        The witness told you
25                  himself that you were basically tangling two

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                                                                   Page 263

 1                  things together.       Came from his mouth.        So if
 2                  that doesn't clarify for you that this was
 3                  not in good faith --
 4                              MS. CASADONTE:         I'm asking --
 5                              MS. LEPERA:        -- I don't know what
 6                  else does.
 7                              MS. CASADONTE:         -- if there was any
 8                  consent to make them lanes of any type.
 9                  That's it.    That's it.
10                              MS. LEPERA:        No, no.   Now you asked
11                  an entirely different question.
12      Q    I believe the question on the table concerned
13           whether there were any communications that you can
14           recall between Bay Tek and Full Circle that made a
15           distinction between Bay Tek manufacturing lanes
16           for Full Circle under the license agreement and
17           any other type of agreement, if any?
18                              MS. LEPERA:        You can answer that
19                  question.
20      A    Can I?
21                              MS. LEPERA:        If you understand it.
22                  I always caveat that.
23                              THE WITNESS:        Yeah.
24                              MS. LEPERA:        It's pretty
25                  convoluted, but you can answer it if you can.

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                                                                   Page 314

 1                  notification that the claim's not viable.            I
 2                  think you know that there very well has been
 3                  much notification.        If you want to ask him if
 4                  he ever notified anybody, I've got no problem
 5                  with that.
 6      Q    Can you answer the question, if you can answer the
 7           question, Mr. Phillipon?          Do you understand the
 8           question?
 9                            MS. LEPERA:          (Unreportable
10                  crosstalk).
11      Q    If you do understand the question, can you please
12           answer it?
13                            MS. LEPERA:          I'm sure he doesn't
14                  have a clue what the question is at this
15                  point.
16                            MS. CASADONTE:           Well, you've made
17                  it so confusing by --
18                            MS. LEPERA:          No, you just -- you
19                  just want to be operating in bad faith, and
20                  that's what's going on here.
21                            MS. CASADONTE:           That's not --
22                  that's not at all what's going on here.
23                            MS. LEPERA:          Then ask him whether
24                  he communicated or heard anybody communicate
25                  -- you go through this long, dancy question,

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                                                                      Page 315

 1                  you know, that makes absolutely no sense, and
 2                  you don't want to -- you know, want to fix
 3                  it.   So what can I do?         Ask it again.
 4                              MS. CASADONTE:         I have a question
 5                  pending.
 6                              MS. LEPERA:        Can I have the court
 7                  reporter read it back?          That's the procedure.
 8                              THE REPORTER:         Let me get back to
 9                  it.
10                              (Page 313, Lines 12-16 read back.)
11                              MS. LEPERA:        I don't think that's
12                  the question she wanted answered.
13                              THE REPORTER:         Okay.     I'll go back
14                  further.    Give me a sec.
15      Q    Here's the thing, Mr. Phillipon.                I think you know
16           what I mean.      I think you know exactly what I
17           mean.    What I'm trying to figure out when, if
18           ever, anyone from Bay Tek had communications with
19           Full Circle about this issue that they purportedly
20           have with Full Circle's claim that you identified
21           here in April 2016.
22                              MS. LEPERA:        Is that a speech or a
23                  question?    What's -- don't give speeches.
24                  Ask a very simple question.
25                              MS. CASADONTE:         I'm almost out of

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                                                                   Page 316

 1                  time.
 2      Q    If you understand the question, answer it.            If you
 3           don't --
 4                            MS. LEPERA:        That's not -- let her
 5                  read back the first question then.
 6                            MS. CASADONTE:         I'm almost out of
 7                  time.
 8                            MS. LEPERA:        The one you just did
 9                  was even worse.
10      Q    If you understand the question, answer.
11                            MS. LEPERA:        It's all right.    I'll
12                  give you the extra -- go ahead.         Just let her
13                  read it back.
14                            (Page 312, Lines 2 through 8 read
15                            back.)
16      A    My answer is I don't know.
17      Q    Okay.    You see here on the third bullet point, it
18           says, based on the biz case, we are leaning
19           towards saying yes to 20 to 25 pieces built via
20           our Stage Four process."        Do you know what you
21           mean by in April 2016 by "Stage Four process"?
22      A    Taking it to the prototype phase.
23      Q    And do you know what you meant here by "biz case"?
24      A    The biz case is laid out in the "blue sky biz
25           case" in the next bullet.

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                                                                    Page 321

 1                                EXAMINATION
 2      BY MS. LEPERA:
 3      Q    Okay.    Mr. Phillipon, just a few follow-up
 4           questions very briefly.         Do you have any training
 5           as a lawyer?
 6      A    I do not.
 7      Q    Do you have any training in interpreting legal
 8           provisions in written contracts?
 9      A    I do not.
10      Q    Did you have any conversations with Joe Sladek as
11           to any of the meaning of the terms of either the
12           license agreement or the settlement agreement?
13      A    I did not.
14      Q    Did you have any role in negotiating any of those
15           provisions that were entered into between SBI and
16           Full Circle, either the license agreement or the
17           settlement agreement?
18      A    I did not.
19                            MS. LEPERA:         Okay.     No further
20                  questions.
21                            MS. CASADONTE:          Thanks for your
22                  time.
23                            MS. LEPERA:         Go for child care.
24                  Christina, withdrawn, don't strike.            Don't
25                  ask "possible" and don't ask "what do you

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                                                                     Page 322

 1                  mean."   Otherwise, did a great job.
 2                             THE VIDEOGRAPHER:            We're going off
 3                  the record at 5:31 p.m., and this concludes
 4                  today's testimony given by
 5                  Gaetan J. Phillipon.
 6                             (Adjourning at 5:32 p.m.)
 7
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                                                                       Page 1

 1                    UNITED STATES DISTRICT COURT
 2                    EASTERN DISTRICT OF WISCONSIN
 3      - - - - - - - - - - - - - - - - - - - - - - - - - - -
        FULL CIRCLE UNITED, LLC,
 4
                            Plaintiff,
 5
                vs.                                    Case No.
 6                                                     1:20-cv-03395
        BAY TEK ENTERTAINMENT, INC,
 7
                         Defendant.        CONFIDENTIAL
 8      _______________________________
 9      BAY TEK ENTERTAINMENT, INC.,
10                 Counterclaim Plaintiff,
11       vs.
12      FULL CIRCLE UNITED, LLC,
13                 Counterclaim Defendant,
14       and
15      ERIC PAVONY,
16                 Additional Counterclaim
                   Defendant.
17
        - - - - - - - - - - - - - - - - - - - - - - - - - - - -
18
                                 CONFIDENTIAL
19                  VIRTUAL VIDEO-RECORDED DEPOSITION OF:
                               LARRY TREANKLER
20
                      TAKEN AT:    The Witness's Residence
21
                        LOCATED AT: 6747 Kawula Lane
22                           Sobieski, Wisconsin
23                              July 12, 2022
                            9:24 a.m. to 7:12 p.m.
24
                 REPORTED BY: VICKY L. ST. GEORGE, RMR.
25      - - - - - - - - - - - - - - - - - - - - - - - - - - - -
        JOB NO. 5304329

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                                                                     Page 248

 1                         THE WITNESS:      No, not to my knowledge.
 2                         MS. CASADONTE-ASPSTOLOU:         Okay.
 3      BY MS. CASADONTE-ASPSTOLOU:
 4      Q.     Was there any obligation -- did you basically have
 5             any obligation in 2017 to make games -- Strike that.
 6             Strike that.
 7                         Was there any problem with Full Circle's
 8             concept of having NSBL lanes integrated with software
 9             that enabled cashless payment to play the lane?
10                         MS. LEPERA:     Object to the form of the
11             question.    Was there any problem with it?           Meaning
12             did it violate a contract or -- I don't understand
13             the question.
14                         MS. CASADONTE-ASPSTOLOU:         You're
15             instructing the witness --
16                         MS. LEPERA:     Wait, wait, wait, wait, wait.
17             Wait.   Was there any problem with that activity.
18                         MS. CASADONTE-ASPSTOLOU:         Yeah, yeah.
19                         MS. LEPERA:     Problem for who?      Problem for
20             who?
21                         MS. CASADONTE-ASPSTOLOU:         I'm asking Mr.
22             Treankler.    I'm asking Mr. Treankler.         If he doesn't
23             understand it, he's free to tell me he doesn't
24             understand the question.         But you keep interrupting
25             and telling -- and directing him not to --

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                                                                        Page 249

 1                        MS. LEPERA:      You ask the most problematic
 2             let's use the word, questions.               Is there a problem
 3             in doing something meaning --
 4                        MS. CASADONTE-ASPSTOLOU:              Okay.
 5                        MS. LEPERA:      Under what scenario, money?
 6             Contracts?   I don't know what --
 7                        MS. CASADONTE-ASPSTOLOU:              Is there any
 8             problem --
 9      BY MS. CASADONTE-ASPSTOLOU:
10      Q.     Was that component of the NSBL a problem for you, Mr.
11             Treankler?
12                        MS. LEPERA:      Personally?
13                        MS. CASADONTE-ASPSTOLOU:              Seriously, Ms.
14             Lepera?   This is why we don't get -- you refuse to--
15                        MS. LEPERA:      You just don't even
16             understand the reason I'm --
17                        MS. CASADONTE-ASPSTOLOU:              Mr. Treanker, if
18             you don't understand any of my questions at any
19             time, say you don't understand it rather than, you
20             know, having Ms. Lepera have a soliloquy.
21                        MS. LEPERA:      Fine, because you're never
22             going to learn how to ask a question.               Go ahead, Mr.
23             Treankler.
24                        THE WITNESS:       I need you to ask the
25             question again.

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                                                                     Page 256

 1                         MS. LEPERA:     Objection to form,
 2             hypothetical, speculative, problem with whom?
 3             Legal, a legal lawsuit from someone?           Is that your
 4             question?
 5                         THE WITNESS:      It would not have been a
 6             problem to build 100 games without credit card
 7             readers.
 8      BY MS. CASADONTE-ASPSTOLOU:
 9      Q.     Would it have been a problem for Bay Tek to build 500
10             games without credit card readers?
11                         MS. LEPERA:     Again, this is speculative.
12             There is no obligation to do any of this.
13                         MS. CASADONTE-ASPSTOLOU:         He said there
14             was an obligation.
15                         MS. LEPERA:     He did?
16                         MS. CASADONTE-ASPSTOLOU:         An agreement.
17             There is an agreement, right, Mr. Treankler?
18      BY MS. CASADONTE-ASPSTOLOU:
19      Q.     Bay Tek agreed, it was one of the manufacturers that
20             agreed to a standard of wiring harness for credit
21             card readers, right?
22                         MS. LEPERA:     No, no, no, you understand
23             me, Ms. Casadonte.
24                         MS. CASADONTE-ASPSTOLOU:         You're
25             testifying --

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                                                                Page 257

 1                       MS. LEPERA:     Your question was whether or
 2             not it was a problem for him to have built all these
 3             multiple lanes for Full Circle and get himself into
 4             some sort of hot water with someone.
 5                       MS. CASADONTE-ASPSTOLOU:         No, you're
 6             testifying for your witness, Ms. Lepera.
 7                       MS. LEPERA:     I'm not testifying.        I'm
 8             trying to clarify your question.
 9                       MS. CASADONTE-ASPSTOLOU:         His face is
10             telling me that he has something to say and you just
11             keep interrupting.
12                       MS. LEPERA:     You just want to harass this
13             witness, don't you?
14                       MS. CASADONTE-ASPSTOLOU:         I tried to --
15                       MS. LEPERA:     You want to harass this
16             man --
17                       MS. CASADONTE-ASPSTOLOU:         I had a
18             question --
19                       MS. LEPERA:     -- in good faith and giving
20             you answers all day long at the last hour.
21                       MS. CASADONTE-ASPSTOLOU:         I should have
22             called the Special Master earlier today.
23                       MS. LEPERA:     I would show her the record
24             in which I would show her you asked the same
25             questions 90 times --

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                                                                   Page 258

 1                         MS. CASADONTE-ASPSTOLOU:          And there was a
 2             delay, and I've said off the record and on that my
 3             hearing impairment makes it even more difficult for
 4             me to follow because of the delay and the audio
 5             issues, Ms. Lepera, and you interposing your
 6             objections --
 7                         MS. LEPERA:     You know what, I just give up
 8             with you.    I'm just really glad you don't work here.
 9             That's all I've got to say.           Go ahead, ask the
10             question again.
11                         MS. CASADONTE-ASPSTOLOU:          There is a
12             delay.   I'm going off the record.
13                         THE VIDEO OPERATOR:          We're going off.
14             Stand by.    We're off the record at 5:31 p.m.
15                         (Recess taken.)
16                         THE VIDEO OPERATOR:          We are back on the
17             record at 5:32 p.m.      This is the end of media unit
18             No. 5.   We are off the record at 5:32 p.m.
19                         (Recess taken.)
20                         THE VIDEO OPERATOR:          We are back on the
21             record at 5:47 p.m.      This is the beginning of media
22             unit No. 6.
23      BY MS. CASADONTE-ASPSTOLOU:
24      Q.     Mr. Treankler, do you know whether this
25             standardization committee was in a position to, if it

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                                                                 Page 268

 1             know where you're going.        But okay, fine.    You can
 2             answer that question.
 3                        MS. CASADONTE-ASPSTOLOU:         He works for Bay
 4             Tek, right?   Didn't you say that?
 5                        MS. LEPERA:     You're screaming now.       It's
 6             really unattractive.
 7                        MS. CASADONTE-ASPSTOLOU:         Well, you scream
 8             all the time, Ms. Lepera.
 9                        MS. LEPERA:     No, I don't.      I don't
10             speak -- I never scream.        Never scream.    Never.
11                        THE WITNESS:      You asked me if I know where
12             Adam Ambrosius works?
13      BY MS. CASADONTE-ASPSTOLOU:
14      Q.     Yes.
15      A.     For one of my other companies.
16      Q.     Do you know the name of the company that Adam
17             Ambrosius works for now?
18      A.     MCL Fab.
19      Q.     Is MCL Fab a different entity than the MCL you
20             previously identified at the beginning of the
21             deposition?
22      A.     It's part -- sorry.     It's part of.       It's our main --
23      Q.     MCL Fab --
24      A.     Sorry.   Go ahead.
25      Q.     I didn't mean to interrupt you.

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                                                                   Page 275

 1                         MS. CASADONTE-ASPSTOLOU:          He said -- I'm
 2             going to retract that question.
 3                         MS. LEPERA:     I'm going to be able to put
 4             my objection in so go ahead.
 5                         MS. CASADONTE-ASPSTOLOU:          Did I mishear
 6             you because Ms. Lepera keeps speaking over you and--
 7                         MS. LEPERA:     Oh, my God, are you like a
 8             human being?    I don't understand this.          Just --
 9                         MS. CASADONTE-ASPSTOLOU:          Still talking.
10      BY MS. CASADONTE-ASPSTOLOU:
11      Q.     Did I misunderstand you?
12      A.     I'm not --
13      Q.     Did you say that there was a decision made to
14             terminate the license agreement, yes or no?
15                         MS. LEPERA:     No.
16                         THE WITNESS:      I said there was not a
17             decision made to terminate the license agreement.
18                         MS. CASADONTE-ASPSTOLOU:          Then I didn't
19             hear you.    Then I didn't hear, Ms. Lepera.          It's not
20             funny.
21                         MS. LEPERA:     Because I'm allowed to put my
22             objection in first.      It's not appropriate that you
23             decide you want my witness to answer the question
24             before I get my objection in.            You're not allowed to
25             do that.    It doesn't work that way.          So I would just

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                                                                     Page 277

 1      Q.     I'll ask it again so the record is clear.
 2                        Were you the person that made a decision to
 3             terminate the license agreement?
 4                        MS. LEPERA:     No, objection to the form of
 5             the question.
 6                        MS. CASADONTE-ASPSTOLOU:             Sorry, sorry.
 7             I'll withdraw it.
 8      BY MS. CASADONTE-ASPSTOLOU:
 9      Q.     Were you the person that made the decision --
10                        MS. LEPERA:     -- are bad faith Christina.
11             You should be ashamed of yourself.              You should be
12             ashamed of yourself.
13                        MS. CASADONTE-ASPSTOLOU:             Ms. Lepera --
14                        MS. LEPERA:     Not making a decision to
15             terminate the license agreement, he said it 12
16             times.   He made a proposal which has a lot of terms
17             in it.   What is wrong here?
18                        MS. CASADONTE-ASPSTOLOU:             I misspoke.   I
19             did misspeak.
20                        MS. LEPERA:     No, you didn't misspeak.           No,
21             you didn't misspeak.      You've been trying to do this
22             for hours.
23                        MS. CASADONTE-ASPSTOLOU:             We haven't --
24                        MS. LEPERA:     Now, act -- every question
25             has to be posed in good faith.              Every question.

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                                                                    Page 278

 1             There is a rule.
 2                        MS. CASADONTE-ASPSTOLOU:            Ms. Lepera,
 3             please.   Stop accusing me of acting in bad faith.
 4                        MS. LEPERA:       You know that last question
 5             you asked was wrong.
 6                        MS. CASADONTE-ASPSTOLOU:            I misspoke and I
 7             retracted it immediately.           Let me continue.
 8      BY MS. CASADONTE-ASPSTOLOU:
 9      Q.     Mr. Treankler, were you the person that made the
10             decision to propose a term sheet to Full Circle
11             terminating the license agreement?
12                        MS. LEPERA:       Objection to form,
13             mischaracterizes the document, omits, ignores
14             significant facts.      You can answer the question.
15                        THE WITNESS:        I did that in conjunction
16             with Holly and my attorney David Timm.
17                        MS. CASADONTE-ASPSTOLOU:            Mr. Atfeh, can
18             you please bring up the term sheet and -- the term
19             sheet, please.
20                        MR. MOUHANNAD:         The letter or the --
21                        MS. CASADONTE-ASPSTOLOU:            It will be
22             providing the term sheet as an attachment to a
23             letter from David Timm I believe.             The term sheet
24             wasn't produced as a stand alone document by Bay
25             Tek.

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